






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-508 CV


____________________



KENNETH D. FORD, Appellant



V.



VICTOR BOSTON, Appellee






On Appeal from the 411th District Court


Polk County, Texas


Trial Cause No. CIV 20318






MEMORANDUM OPINION (1)


	On October 29, 2003, the Court received the notice of appeal in this appeal.  On
November 13, 2003, we notified the parties that the appeal appeared to be interlocutory
because the final judgment had not been signed by the trial court.  On December 29, 2003,
we received the clerk's record and confirmed no judgment has been signed and entered. 
We have received no written response to our correspondence.

	The Court finds no final judgment has issued.  Subject to certain statutory
exceptions not applicable in this case, only final judgments are appealable.  Tex. Civ.
Prac. &amp; Rem. Code Ann. § 51.012, 51.014 (Vernon 1997 &amp; Supp. 2004).  A
prematurely filed notice of appeal is effective and deemed filed on the day of, but after,
the event that begins the period for perfecting the appeal.  Tex. R. App. P. 27.1(a).  In this
case, however, the act which will begin the period for perfecting the appeal-signing the
judgment-has not occurred.  Accordingly, we hold the jurisdiction over this case is still
vested in the trial court.  This appeal is dismissed for want of jurisdiction.

	APPEAL DISMISSED FOR LACK OF JURISDICTION.

										PER CURIAM


Opinion Delivered February 5, 2004 

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


